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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

PORTIA MCCOLLUM, Derivatively
on Behalf of Nominal Defendant
FIDELITY NATIONAL INFORMATION
SERVICES, INC.,
Plaintiff,
Vv. Case No.: 3:24-cv-1090-BJD-MCR
GARY A. NORCROSS, et al.,
Defendants.

and

FIDELITY NATIONAL INFORMATION
SERVICES, INC.,

Nominal Defendant.

ORDER OF DISMISSAL

This matter is before the Court on the Notice of Voluntary Dismissal of
Claims Against Defendants Mark Benjamin, Mark J. Hawkins and Mark A.
Ernst Pursuant to Fed. R. Civ. P. 41(a)(1)(A)G) (Doc. 10; Notice) filed on
October 24, 2024. See Notice at 1. Upon review of the docket, the Court notes
that Defendants Benjamin, Hawkins and Ernst have neither served an answer
nor a motion for summary judgment.

Accordingly, it is hereby
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ORDERED:

1. Plaintiff's case as to Defendants Mark Benjamin, Mark J. Hawkins
and Mark A. Ernst is DISMISSED without prejudice.

2. Each party shall bear its own costs and fees.

3. The Clerk of the Court is directed to terminate Mark Benjamin,
Mark J. Hawkins and Mark A. Ernst from the Court docket.

Ah
DONE and ORDERED in Jacksonville, Florida this 5 day of

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| ), .

BRIAN J. DAVIS
United States District Judge

November, 2024.

Copies to:

Counsel of Record

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